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                              UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF CONNECTICUT


HYBRID ATHLETICS, LLC,

               Plaintiff,                              Civil Action No. 3:17-CV-01767-VAB

       vs.

HYLETE LLC, HYLETE, INC., RONALD L.
WILSON, II, and MATTHEW PAULSON,

              Defendants.



       MEMORANDUM IN SUPPORT OF HYLETE’S MOTION FOR LEAVE TO
            FILE AN AMENDED ANSWER AND COUNTERCLAIM


       Pursuant to Fed. R. Civ. P. 15(a) and 16(b), Defendant Hylete, Inc. (“Hylete”)

respectfully moves for leave to file its Amended Answer and Counterclaims as a result of new

information learned during recent discovery and, pursuant to Rules 13(h) and 20(a), to add

Robert Orlando as a counterclaim defendant.

       During recent depositions in March and April 2019, Hylete learned that Plaintiff Hybrid

Athletics (“HA”) and HA’s sole owner Robert Orlando (“Orlando”) interfered with Hylete’s

business by making false and misleading statements about Hylete, Hylete’s trademarks and

Hylete’s products, interfered with Hylete’s business relationships and Hylete’s fundraising

efforts, and committed further acts of fraud in obtaining HA’s trademark registrations.

       As a result, Hylete seeks to amend its counterclaims to add claims of false advertising

under the Lanham Act, tortious interference with business expectancies, commercial

disparagement and defamation, cancellation of HA’s trademark registrations, and violations of

the Connecticut Unfair Trade Practices Act.

       Good cause exists for granting Hylete leave to add these counterclaims and other

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amendments fine-tuning previous allegations in light of recent discovery, since Hylete only

learned this new information in recent depositions.

           HA would not be prejudiced by the proposed amendments. Discovery is not set to close

until approximately five months from now (based on the parties’ joint proposed case schedule).

The new counterclaims against Orlando arise out of the same transactions as alleged against HA

and questions of law and fact common to both HA and Orlando will arise in these counterclaims.

Further, adding Orlando will not divest the Court of subject matter jurisdiction.

           A clean version and redlined copy of the proposed Amended Answer and Counterclaims

are attached to Hylete’s motion as Exhibits A and B, respectively.

      I.          FACTS

           HA filed its initial Complaint against Hylete on October 23, 2017 alleging trademark

infringement and related state law claims. Doc. No. 1. Seven months after the December 23,

2017 deadline to amend pleadings, HA moved to amend its Complaint and to add parties. See

Doc. No. 76. HA and Hylete fully briefed the motion, and the Court granted HA’s motion on

September 10, 2018. See Doc. Nos. 82, 83, 87. On September 12, 2018, HA filed its First

Amended Complaint (“FAC”) adding Ronald L. Wilson, II, and Matthew Paulson as defendants

and adding several new allegations. See Doc. No. 92. On September 26, 2018, Hylete filed its

Answer and Counterclaim alleging counterclaims against HA for cancellation of HA’s trademark

registrations. See Doc. No. 104. HA answered all of Hylete’s counterclaims on October 17,

2018. See Doc. No. 115. Rather than file an Answer to HA’s FAC, on October 10, 2018, the

individual defendants Wilson and Paulson (“Individual Defendants”) moved to dismiss the FAC.

See Doc. Nos. 112, 113. Wilson, Paulson, and HA fully briefed the motion and now await the

Court’s hearing and decision on it. See Doc. Nos. 116, 122. All throughout this time, all parties

have been engaged in discovery.



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          During recent discovery, including recent depositions in March and April 2019, Hylete

learned that HA and Orlando interfered with Hylete’s business by making false and misleading

statements about Hylete, Hylete’s trademarks and Hylete’s products, interfered with Hylete’s

business relationships and Hylete’s fundraising efforts, and committed further acts of fraud in

obtaining HA’s trademark registrations.      Specifically, Orlando admitted that he personally

directed and even personally performed the alleged unlawful conduct, which includes making

false statements about the ownership of Hylete’s marks, improper statements urging consumers

not to buy Hylete’s products, statements urging or supporting others who sought to interfere in

Hylete’s efforts to fundraise and grow its business, and other the conduct and practices that

support proposed Counterclaim counts 10 through 13, which are specifically asserted against

Orlando. Indeed, Mr. Orlando testified that he is responsible for all aspects of HA’s business

and controls 100% of HA.

          Further, the recent 30(b)(6) deposition of HA and the deposition of Orlando revealed

information relating to HA’s and Orlando’s prosecution of HA’s trademark applications before

the United States Patent and Trademark Office (“USPTO”). This testimony exposed new acts of

fraud before the USPTO and other facts that support Hylete’s counterclaims for cancellation of

HA’s trademark registrations.

    II.          LEGAL STANDARD AND ARGUMENT

          Fed. R. Civ. P. 15(a)(2) provides that the court “should freely give leave” to amend

pleadings when justice so requires. Generally, courts will grant leave to amend unless there is

good reason to deny the motion such as “futility, bad faith, undue delay, or undue prejudice to

the opposing party.” Min Jin v. Metro Life Ins. Co., 310 F.3d 184, 101 (2d Cir. 2002). While

motions to amend pleadings are generally governed by Rule 15(a), Rules 20 and 21 control if the

proposed amendment adds a new party. See Meyers v. Kishimoto, No. 3:14CV535(CSH), 2015



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WL 4041438, at *3 (D. Conn. July 1, 2015); Fed. R. Civ. P. 20(a). There is little practical

difference and the considerations under Rule 15(a) apply with equal force to amendments to add

parties. Meyers, 2015 WL 4041438, at *3; Amaya v. Roadhouse Brick Oven Pizza, Inc., 285

F.R.D. 251, 253 (E.D.N.Y. 2012).

       Where, as here, the court has entered a scheduling order setting a deadline for the

amendment of pleadings, a showing of good cause is required for amendments after the deadline.

Fed. R. Civ. P. 16(b)(4); see Parker v. Columbia Pictures Indus., 204 F.3d 326, 340 (2d Cir.

2000). A court will find “good cause” where the moving party has demonstrated “diligence,”

Parker, 204 F.3d at 340, and the party’s amendment would not significantly prejudice the

nonmoving party. See Kassner v. 2nd Ave. Deli. Inc., 496 F.3d 229, 244 (2d Cir. 2007). There is

good cause to grant Hylete’s motion for leave to file its proposed Amended Answer and

Counterclaims because Hylete moved for leave promptly after learning of the new information

that gives rise to the amendments and the filing of the Amended Answer and Counterclaims

would not prejudice the counterclaim defendants.

               1.      Hylete Has Exercised Diligence in Filing its Motion for Leave to File
                       its Amended Answer and Counterclaims


       The original deadline for amending pleadings or adding parties was December 23, 2017,

approximately two months after HA initiated this action by filing the original Complaint. At that

time, no discovery had occurred. It was only recently, in depositions that occurred in March and

April 2019, that Hylete discovered the new information that gives rise to the amendments.

Accordingly, Hylete could not have moved for leave to amend prior to the Court’s December 23,

2017 deadline. Hylete moved swiftly to file this motion for leave once the facts were known.

       Consequently, good cause exists for the Court to grant Hylete’s motion for leave to file

its Amended Answer and Counterclaims.

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                2.     Hylete Meets The Standard For Leave to Amend Since Counterclaim

                       Defendants Would Not Be Prejudiced by the Amended Answer and

                       Counterclaims and the Proposed Amendments are Not Futile


       The Supreme Court has instructed that leave to amend should be granted “absent any

apparent or declared reason-such as undue delay, bad faith or dilatory motive on the part of the

movant, repeated failure to cure deficiencies by amendments previously allowed, undue

prejudice to the opposing party by virtue of allowance of the amendment, or futility of the

amendment[.]” Foman v. Davis, 371 U.S. 178, 182 (1962).

       Hylete meets the standard under Rule 15(a) and Rule 20. There has been no bad faith,

dilatory motive, and the proposed amendments are not futile and would not cause undue

prejudice to HA or Orlando.

       First, in assessing whether there would be undue prejudice, a court must focus on the

hardship to the nonmoving party if the amendment is permitted. Specifically, the court has to

consider “whether allowing an amendment would result in additional discovery, cost, and

preparation to defend against new facts or new theories. AEP Energy Servs. Gas Holding Co. v.

Bank of Am. N.A., 626 F.3d 699, 725 (2d Cir. 2010). But where the facts underlying the

amendments were known to the nonmoving party, there is no undue prejudice. See Esquire

Radio & Elecs., Inc. v. Montgomery Ward & Co., 804 F.2d 787, 795 (2nd Cir.1986) (“A party

cannot claim unfair surprise when it has been provided with notice of the subject of the

amendment to a complaint, by discovery or documents, well in advance of the actual

amendment.”).

       Here, HA and Orlando cannot be prejudiced, or caught off guard, by the new facts

alleged by Hylete since both HA and Orlando had first-hand knowledge of the roles they played

in the prosecution of HA’s trademark applications and in making false and misleading statements


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about Hylete, Hylete’s trademarks and Hylete’s products and interfering with Hylete’s business

relationships and Hylete’s fundraising efforts.

       Further, this case is still in the discovery phase and discovery is not set to close for almost

five months – in late October 2019 (based on the parties’ joint proposed case schedule [Doc. No.

174], which the parties agreed to after Hylete provided a draft of its proposed Amended Answers

and Counterclaims to HA). Accordingly, HA and Orlando will have ample opportunity to seek

and produce discovery that would assist them in defending against the additional allegations and

will have plenty of time to prepare its defenses.

       Additionally, “[m]ere delay ... absent a showing of bad faith or undue prejudice, does not

provide a basis for the district court to deny the right to amend.” State Teachers Ret. Bd. v. Fluor

Corp., 654 F.2d 843, 856 (2d Cir.1981). And so, “parties may amend their pleadings to assert

new claims long after they acquired facts necessary to support those claims.” Cisco Tech., Inc. v.

Certification Trendz, Ltd., 177 F. Supp. 3d 732, 736 (D. Conn. 2016).

       Second, it will not be futile if Hylete files its Amended Answer and Counterclaim. In the

context of a motion to amend a pleading, “futility” refers to the failure to state a claim upon

which relief can be granted. Milanese v. Rust-Oleum Corp., 244 F.3d 104, 114 (2d Cir. 2001).

And so, a court may deny leave to amend only if the proposed amendment would not survive a

motion to dismiss. United Rentals (N. Am.) Inc. v. Conti Enters., Inc., No. 3:15-CV-298 (JCH),

2015 WL 7257864, at *4 (D. Conn. Nov. 17, 2015). HA did not challenge Hylete’s original

Answer and Counterclaim counts for failure to state a claim. HA also cannot substantively

challenge and prevail on a motion to dismiss the claims in the Amended Answer and

Counterclaim because the amended pleading adds a proper Counterclaim defendant - Orlando,

clarifies and narrows earlier allegations including allegations of fraud on the PTO, and adds new

Counterclaim counts based on information HA’s own witnesses recently disclosed or affirmed in


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depositions in March and April 2020. As to the new counts alleged, those claims arise from

conduct HA or Orlando admittedly engaged in, which contravenes federal trademark laws, state

law, and the common law. With the substance of the allegations and evidence of record thus far,

HA cannot prevail on a motion to dismiss the claims.

         Finally, the addition of Orlando as a counterclaim defendant is proper. Rule 13(h)

provides that “Rules 19 and 20 govern the addition of a person as a party to a counterclaim...”.

The main purpose of Rule 13(h) is “to dispose of an action in its entirety and grant complete

relief to all concerned parties.” Hercules, Inc. v. Dynamic Export Corp., 71 F.R.D. 101, 105

(S.D.N.Y. 1976). Therefore, courts should “construe the rule liberally in an effort to foster

judicial economy and avoid multiplicity of litigation.” Id. at 106 (citing United Artists Corp. v.

Masterpiece Prods., Inc., 221 F.2d 213, 217 (2d Cir. 1955).).

         Under Rule 20(a)(2), persons may be joined as defendants if: “(A) any right to relief is

asserted against them jointly, severally, or in the alternative with respect to or arising out of the

same transaction, occurrence, or series of transactions or occurrence; and (B) any question of law

or fact common to all defendants will arise in the action.”

         Here, Hylete seeks relief jointly and severally from HA and Orlando because of

Orlando’s central role in personally directing and even personally performing the alleged

unlawful conduct and questions of law or fact common to all defendants will arise in the action.

See, e.g., Proposed Amended Answer and Counterclaims at paragraphs 17-80; 118-124; 157-185.

    III.        CONCLUSION

         For these reasons, Hylete requests that the Court grant it leave to file the attached

Amended Answer and Counterclaims. Also attached and lodged with the Court is a Proposed

Order.




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                                   Respectfully Submitted,



DATED: May 10, 2019                /s/ Dave Deonarine
                                   Dave Deonarine, phv09386
                                   Pattric J. Rawlins, phv09482
                                   Nicholas S. Kawuka, phv09387
                                   Procopio, Cory, Hargreaves
                                    & Savitch LLP
                                   12544 High Bluff Drive, Suite 300
                                   San Diego, CA 92130
                                   Tel: (858) 720-6300
                                   Fax: (619) 398-0167
                                   Email: dave.deonarine@procopio.com
                                   pattric.rawlins@procopio.com
                                   nicholas.kawuka@procopio.com

                                   Thomas J. Mango, ct28149
                                   Michael J. Rye, ct18354
                                   Cantor Colburn LLP
                                   20 Church Street, 22nd Floor
                                   Hartford, CT 06103-3207
                                   Tel: (860) 286-2929
                                   Fax: (860) 286-0115
                                   Email: tmango@cantorcolburn.com
                                           mrye@cantorcolburn.com

                                   Attorneys for Defendant Hylete, Inc.




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